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                                      #1206



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

ROOSEVELT JOHNSON, III,

      Defendant.                               Case No. 06-cr-30166-1-DRH



                                       ORDER



HERNDON, District Judge:


             Before the Court is defendant Johnson’s Motion to Continue Sentencing

(Doc. 475), currently set for October 1, 2008. The Motion states that Defendant

suffers from a serious medical condition and has recently been transferred to Barnes

Hospital in St. Louis, Missouri. For this reason, Defendant will be unable to be

interviewed by a United States probation officer in order to prepare his presentence

investigation report, until either the end of July or the beginning of August, 2008.

Therefore, in order for the probation officer to have sufficient time to investigate and

prepare the report and for all parties to review the report and respond, if necessary,

additional time is requested.




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            The Court hereby GRANTS the Motion (Doc. 475). Defendant Roosevelt

Johnson, III’s sentencing hearing is continued to Friday, November 14, 2008 at

9:30 a.m.

            IT IS SO ORDERED

            Signed this 28th day of July, 2008.

                                            /s/   DavidRHer|do|
                                            Chief Judge
                                            United States District Court




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